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                          IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DIVISION

UNITED STATES OF AMERICA                                                            PLAINTIFF

v.                                 NO. 4:14CR00010-15 JLH

EDDIE JEROME GILLIAM                                                              DEFENDANT

                                            ORDER

       The docket in this matter reflects that J. Blake Hendrix, Jr., entered his appearance as

retained counsel for defendant Tellys Arkeith Clemmons at plea and arraignment on April 7, 2014.

Subsequently, United States Magistrate Judge Beth Deere appointed CJA Panel Attorney Patrick

L. Spivey to represent Eddie Jerome Gilliam on April 17, 2014, with a nunc pro tunc date of April

15, 2014. Mr. Hendrix and Mr. Spivey are both lawyers at the Fuqua Campbell law firm. The Court

previously determined that a Federal Rule of Criminal Procedure 44(c) Hearing should be scheduled

to address this matter.

       IT IS THEREFORE ORDERED that the matter of the Rule 44(c) Hearing to address the

representation of defendants Clemmons and Gilliam by lawyers of the same law firm is hereby

referred to United States Magistrate Judge Beth Deere to address following plea and arraignment

for Mr. Gilliam in Case No. 4:14CR00240-01 BRW.

       IT IS SO ORDERED this 15th day of December, 2014.



                                                    _________________________________
                                                    J. LEON HOLMES
                                                    UNITED STATES DISTRICT JUDGE
